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 4                                   UNITED STATES DISTRICT COURT
 5                                       DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                     Plaintiff,              )                 Case No. 2:13-cr-00361-KJD-GWF
                                               )
 9   vs.                                       )                 ORDER
                                               )
10   CHAUNCY ANDERSON,                         )
                                               )
11                     Defendants.             )
     __________________________________________)
12
13          This matter is before the Court on Defendant’s Motion for the Return of Seized Property
14   (#170) filed September 3, 2015 and the Government’s Response (#176) filed November 5, 2015.
15   Based on the Government’s statement that the money Defendant seeks to have returned was the
16   subject of a forfeiture proceeding and a judgment of forfeiture has been entered against said money
17   in the Nevada District Court.
18          IT IS HEREBY ORDERED that Defendant’s Motion for the Return of Seized Property
19   (#170) is denied.
20          DATED this 18th day of November, 2015.
21
22                                                ______________________________________
                                                  GEORGE FOLEY, JR.
23                                                United States Magistrate Judge
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